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                           EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


In re:
                                                                    PROMESA
THE FINANCIAL OVERSIGHT AND                                         Title III
MANAGEMENT BOARD FOR PUERTO RICO,
                                                                    No. 17 BK 3283-LTS
                       as representative of                         (Jointly Administered)

THE COMMONWEALTH OF PUERTO RICO, THE
EMPLOYEES RETIREMENT SYSTEM OF THE
GOVERNMENT OF THE COMMONWEALTH OF
PUERTO RICO, AND THE PUERTO RICO PUBLIC
BUILDINGS AUTHORITY,

                                              Debtors.1



     [PROPOSED] ORDER GRANTING URGENT MOTION OF AMBAC ASSURANCE
     CORPORATION FOR LEAVE TO FILE SUPPLEMENTAL OBJECTION TO THE
    DISCLOSURE STATEMENT FOR THE THIRD AMENDED TITLE III JOINT PLAN
       OF ADJUSTMENT OF THE COMMONWEALTH OF PUERTO RICO, ET AL.

           Upon consideration of the Urgent Motion of Ambac Assurance Corporation for Leave to

File Supplemental Objection to the Disclosure Statement for the Third Amended Title III Joint

Plan of Adjustment of the Commonwealth of Puerto Rico, et al. (the “Urgent Motion”);2 and the

Court having subject matter jurisdiction to consider the Urgent Motion and the relief requested


1
  The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the
last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283-LTS) (Last
Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”)
(Bankruptcy Case No. 17-BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico
Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567-LTS) (Last Four
Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566-LTS) (Last Four Digits of
Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17-
BK-4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority
(“PBA”) (Bankruptcy Case No. 19-BK-5233-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III
case numbers are listed as Bankruptcy Case numbers due to software limitations).
2
    Capitalized terms not defined herein have the meanings ascribed in the Urgent Motion.
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therein under 28 U.S.C. § 1331 and PROMESA § 306(a), 48 U.S.C. § 2166(a); and it appearing

that venue in this district is proper under 28 U.S.C. § 1391(b) and PROMESA § 307(a), 48 U.S.C.

§ 2167(a); and due and proper notice of the Urgent Motion having been provided and it appearing

that no other or further notice need be provided; and the Court having determined the legal and

factual bases set forth in the Urgent Motion establish just cause for the relief requested therein, the

Court hereby ALLOWS the Urgent Motion and ORDERS THAT:

       1. The Urgent Motion is GRANTED as set forth herein.

       2. Ambac is permitted to file a supplemental objection to the Disclosure Statement (the

“Supplemental Objection”) not to exceed five (5) pages, exclusive of the cover page, the signature

page, and the certificate of service.

       3. The Supplemental Objection shall be due before the Court on Friday, June 25, 2021,

at 5:00 pm AST.

       4. The terms and conditions of this Order shall be immediately effective and enforceable

upon its entry.

       5. The Court shall retain jurisdiction to hear and determine all matters arising from or

relating to the implementation, interpretation, or enforcement of this Order.

       6. This Order resolves Docket Entry No.            in Case No. 17-3283.




 Dated:                  , 2021
          San Juan, Puerto Rico
                                                Laura Taylor Swain
                                                United States District Court Judge




                                                 -2-
